              Case 20-10343-LSS              Doc 1379-6         Filed 09/29/20         Page 1 of 21



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

BOY SCOUTS OF AMERICA AND                                         Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                                  Jointly Administered
                                    Debtors.


                                       CERTIFICATE OF SERVICE

                  I, James E. O’Neill, hereby certify that on the 29th day of September, 2020, I

caused a copy of the following document(s) to be served on the individual(s) on the attached

service list(s) in the manner indicated:

                  Notice of Motion of the Official Tort Claimants’ Committee Pursuant to
                  Bankruptcy Rule 2004 and Local Rule 2004-1 for an Order Authorizing the
                  Issuance of Subpoenas for Discovery from Debtors and Certain Local
                  Councils

                  Motion of the Official Tort Claimants’ Committee Pursuant to Bankruptcy
                  Rule 2004 and Local Rule 2004-1 for an Order Authorizing the Issuance of
                  Subpoenas for Discovery from Debtors and Certain Local Councils



                                                      /s/ James E. O’Neill
                                                      James E. O’Neill (DE Bar No. 4042)




1 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



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              Case 20-10343-LSS    Doc 1379-6   Filed 09/29/20   Page 2 of 21




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              Case 20-10343-LSS     Doc 1379-6   Filed 09/29/20    Page 3 of 21




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DOCS_DE:227583.2 85353/001
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DOCS_DE:227583.2 85353/001
              Case 20-10343-LSS   Doc 1379-6    Filed 09/29/20    Page 5 of 21




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DOCS_DE:227583.2 85353/001
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DOCS_DE:227583.2 85353/001
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                                             6
DOCS_DE:227583.2 85353/001
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DOCS_DE:227583.2 85353/001
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                                            8
DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS       Doc 1379-6    Filed 09/29/20   Page 10 of 21




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                                               9
DOCS_DE:227583.2 85353/001
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                                              10
DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS     Doc 1379-6    Filed 09/29/20   Page 12 of 21




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DOCS_DE:227583.2 85353/001
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DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS    Doc 1379-6     Filed 09/29/20    Page 14 of 21




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                                            13
DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS      Doc 1379-6   Filed 09/29/20   Page 15 of 21




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                                            14
DOCS_DE:227583.2 85353/001
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DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS               Doc 1379-6       Filed 09/29/20   Page 17 of 21




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                                                         16
DOCS_DE:227583.2 85353/001
             Case 20-10343-LSS     Doc 1379-6   Filed 09/29/20   Page 18 of 21




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Case No. 20-10343 (LSS)                         Capitol Area Council #564
Document No. 230769                             12500 N. Interstate Hwy 35
01 – Hand Delivery                              Austin, TX 78753
49 – First Class Mail
21 – Emails                                     First Class Mail
                                                Chief Seattle Council #609
                                                3120 Rainier Avenue S
Hand Delivery and Email                         Seattle, WA 98144-6015
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Alamo Area Council #583                         Wayne, PA 19087-1346
2226 Northwest Military Highway
San Antonio, TX 78213-1894                      First Class Mail
                                                Crossroads of the West Council #590
First Class Mail                                1200 East 5400 South
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DOCS_DE:230769.1 85353/001
             Case 20-10343-LSS     Doc 1379-6   Filed 09/29/20    Page 19 of 21




First Class Mail                                First Class Mail
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2241 Woodland Avenue                            9190 Rockville Pike
Cleveland, OH 44115-3295                        Bethesda, MD 20814-3812

First Class Mail                                First Class Mail
Last Frontier Council #480                      Northern New Jersey Council #333
3031 NW 64th Street                             25 Ramapo Valley Road
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12001 Sycamore Station Place                    Saint Louis, MO 63108-2193
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                                                First Class Mail
First Class Mail                                Northern Star Council #250
Michigan Crossroads Council #780                6202 Bloomington Road
137 S. Marketplace Blvd.                        Fort Snelling, MN 55111
Lansing, MI 48917
                                                First Class Mail
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DOCS_DE:230769.1 85353/001
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DOCS_DE:230769.1 85353/001
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DOCS_DE:230769.1 85353/001
